  Case 23-11793-djb            Doc 74       Filed 10/28/24 Entered 10/28/24 13:30:16                      Desc Main
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                            IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  IN RE: Kayla Lesse
                                      Debtor
                                                                                        Chapter 13
  PENNSYLVANIA HOUSING FINANCE
  AGENCY
                        Movant
            v.                                                                    NO. 23-11793 PMM

  Kayla Lesse
                                      Debtor
                                                                                  11 U.S.C. Section 362
  Kenneth E. West
                                      Trustee


                                                           ORDER
           AND NOW,upon the filing of a Certification of Default by the Moving Party in accordance with the
  Stipulation of the parties approved on March 12, 2024, it is ORDERED AND DECREED that:
           The Automatic Stay of all proceedings, as provided under Section 362 of the Bankruptcy
  Abuse Prevention and Consumer Protection Act of 2005 (The Code), 11 U.S.C. Section 362 and the Co-
  Debtor Stay under Section 1301 of the Bankruptcy Code (if applicable), is modified with respect to the subject
  premises located at 6148 Gillespie Street, Philadelphia, PA 19135 (“Property”), so as to allow Movant, and
  its successors or assignees, to proceed with its rights and remedies under the terms of the subject
  Mortgage and pursue its in rem State Court remedies including, but not limited to, taking the Property to
  Sheriff’s Sale, in addition to potentially pursuing other loss mitigation alternatives including, but not limited to, a
  loan modification, short sale or deed-in-lieu of foreclosure. Additionally, any purchaser of the Property at Sheriff's
  Sale (or purchaser's assignee) may take any legal action for enforcement of its right to possession of the Property.


           The stay provided by Bankruptcy Rule 4001(a)(3) has been waived.



Date: October 28, 2024

                                                                  Hon. Patricia M. Mayer
                                                                  United States Bankruptcy Judge
